                                                                                   PL002844




               Shooting at 3775 N 100 St
• 20-14889
• 08/08/2020




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                            Shooting incident
• First involved subjects identified:

   • Ronald D Bell         03       /1992)




   • William Lofton          08       /1997)




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Traffic stop with Bell/Lofton
• Following incident; Bell/Lofton were traffic stopped by PO Finley and
  positively identified.

• Surveillance conducted with MPD Bureau; Bell/Lofton traffic stopped
  by PO Cefalu and taken into custody. Vehicle search warrant drafted
  and approved, no new information obtained.




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                  Interview with Lofton
• Lofton declined to make any statements and was conveyed to CJF on
  RES charges (subject riding on top of his vehicle as he drove).

• Subsequently charged with Second-Degree Recklessly Endangering
  Safety.




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                       Interview with Bell
• Two different interviews; Bell waived rights in both.
• Admitted to having shotgun at Mensah’s house and that it was in his
  control when it “went off”.
• Implicated several other subjects involved in the incident. Identified
  several subject present at Mensah’s house.
• Provided intelligence about the People’s Revolution.
• Subsequently charged with Second-Degree Recklessly Endangering
  Safety, Battery to Law Enforcement Officer – PTAC.


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                              Niles J McKee
• Niles Jon McKee        07 /1991); implicated by Bell as providing
  and disposing of the shotgun.
• No Knock Search Warrant authorized (20-15215). McKee taken into
  custody, items of evidentiary value seized; shotgun was NOT located.
• Waived rights and provided a statement implicating/identifying those
  involved/present.
• Gave shotgun to “Hippie Henderson”.
• Subsequently charged with Harboring and Aiding a Felon.


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                      Hippie Henderson
• Jeremy J Henderson          02/ /1978)
• Implicated by McKee as being in possession of shotgun; c ee
  passed shotgun off days after the shooting requesting Henderson
  maintain it.
• No Knock search warrant conducted (20-15394); shotgun recovered.
• Waived rights, did not provide any new information, denied
  knowledge that he was aware of shotgun’s use.
• At this point, no charges have been filed.


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                        Lafayette Baldwin
• Lafayette A Baldwin        02 /2002)
• Implicated by Bell and Lofton as having pulled a handgun on ensa
  and threatened his life.
• Identified by Swayka in photo array.
• No Knock search warrant (20-15393), some items of evidentiary value
  recovered.
• Declined to provide a statement.
• At this point, no charges have been filed.

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                  Confidential Informant
• Detective Roberson obtained information of a “protestor” that was
  on-scene.
• CI provided credible information and two videos that were previously,
  unknown.




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              Witness statement attempts
• Several subjects have been identified.
• Detective Roberson has been attempting to identify additional
  subjects.
• Detective Roberson and Detective Sment tasked with contacting them
  for witness statements.
• Several have deferred to their attorneys. At this point, no additionaly
  statements have been obtained.



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                  Continued investigation
• As subjects continue to be identified (specifically where there is PC for
  Battery to LE) attempts will be made to locate and arrest them.
  Charges will be sought through the DA’s office.
• DA’s office reluctant to issue charges leading to warrants on these
  subjects.
• DA’s office will, likely, issue charges/warrants on higher value targets
  prior to arrests being made. However, these higher value targets will
  need DA Administrative approval before proceeding.


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                      Higher Value Targets
• Khalil Coleman            07         /1986)
   • Implicated by Bell
   • Viral video shows Bell on bullhorn; 90 seconds later, same u orn s use o
     strike Mensah on the head (CI video). However, only the arm of the person
     swinging is visible.
   • Provided broken bullhorn to Cole family as a souvenir.
   • Coleman believed the be the “leader” of the People’s Revolution and is
     rumored to have had private meetings with McBride, Motley and Vishny.
   • Loose PC exists…DA’s office has requested continued investigation in hopes
     that more will present.


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                                              HVT
• State Representative David Bowen
   • Present with group at Target purchasing toilet paper
   • Aware of destination, when asked for the disclosure his response was, “I can’t
     tell you, but you’re going to like it”.
   • Seen in video in close proximity to the attack on Mensah.
   • Bell wanted to turn himself in, Bowen told him not to do so and to wait to see
     how things shook out.
   • Participated in phone call with Tiffany Henry and Bell.
   • Intentionally put out false information, on State Letterhead, following the
     attack.


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                                              HVT
• Tiffany Henry        03         /1983)
   • Milwaukee Office Director for US Senator Tammy Baldwin,
   • President of Milwaukee Urban League Young Professionals,
   • Implicated by McKee as also hitting Mensah with bullhorn; this information
     has not been confirmed.
   • Was with David Bowen when they called Bell to discuss the shooting.
     Following the discussion, Bowen’s statement goes out.




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                                              HVT
• Dennis McBride
  • Sanctioned violence against Mensah,
  • Alleged to have met privately with Coleman, Motley and Vishny and Brian
    Anderson.
  • Close connection to David Bowen, was willing to meet and provide an
    investigative update until stopped by City Attorney,
  • Continually provides outright lies and misleading information to the public,
  • Permitted the People’s Revolution to run City of Wauwatosa meetings, has
    had discussions and Q&A sessions not outlined on meeting agendas, in
    violation of Open Meetings laws.
  • No PC for involvement in Mensah shooting…yet.

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